  Case 2:16-cr-00211-DS Document 35 Filed 09/01/20 PageID.208 Page 1 of 6



THOMAS E. ANDREWS, In Pro Se                                         FILED IN UNITED~" ST1\n:c   Dl"TF''C·r
Reg No:24601-081                                                         COUR1··          I l ,) -' 0 11     J
                                                                              r ,         DIS I lliGT OF UTAH
3705 W. Farm Rd.
Lompoc, Ca. 93436                                                              r: "''~)
                                                                               ·~.i1 i..,.,   ,J
                                                                                                   ~I   ~·       2n·.m
                                                                                                                 . . ir.-1!.U

                              UNITED STATES OF AMERICA
                                       FOR THE
                              CENTRAL DISTRICT OF UTAH
                                                                     BYD. M/.\RK JC)NES, CLERK
                                                                       ~             ......
                                                                                rJE:PUTY
                                                                                                   __CLERK-
UNITED STATES OF AMERICA,                 )
   Plaintiff,                             )   Case.1 No: .· 2 t (16-Cr400tl 10;-,DS
                                                    1


                                          )
                                          )   Judge: David Sam
Vs.                                       )
                                          )   EX PARTE1 1MOT1ION 'FOR: IMMEDIATE
                                          )   RELEASE UNDER CARES ACT TO
THOMAS EDWARD ANDREWS,                    )   HOME CONFINEMENT
   Defendant.                             )   (18 u.s.c §3582 (c) (A))
                                          )

      COMES NOW, Defendant Thomas Edward Andrews ("Defendant"), who petitions this

Court for immediate release to home confinement pursuant to 1.8 U.S.C. §3624

(C)(2), as amended by the CARES ACT of 2020, along with any other federal status

and such that may a~ply for the relief sought, in consideration of the perils

associated with the COVID-19 pandemic.

                                  STATEMENT OF FACTS

1. Defendant is currently serving a ninety seven month (97) sentence at Lompoc

Camp in the State of California.

2. Defendant suffers from a variety of medical condition that are considered

co-mordibities with regard to COVID-19. Should the defendant contract COVID-

19, these co-mobifities could mean his death. These medical conditions are supported

by Lompoc Complex Medical findings that is attached hereto and hereby incorporated

as of this reference as Exhibit "l".

3. On April 10, 2020, Defendant sent a BP-8 ("Cop-out") though the email to

the Warden, as a administrative remedy, asking to be released under the CARES

Act.

4. On or about April 15, 2020, the U.S. Office of Inspector General ("OIG"),

launched a formal investigation in th out break of COVID-19 at the Lompoc Prison

Complex. Among the many findings in the report and finding of fact that applies
                                          1
  Case 2:16-cr-00211-DS Document 35 Filed 09/01/20 PageID.209 Page 2 of 6



 to the undersigp.ed; " [ •.• ] use o.f home confinement in response to the spread

 of COVID-19 at FCC Lompoc in April, as a mechanism to reduce either the at-

 risk inmate population of the over all prison population in order to assist

 with social distancing, was extremely limited. As of May 13, 2020, over 900

Lompoc inmates has contracted Covid-19 and we (The OIG office) determined that

only 8 inmates had been transferred to Home Confinement in accordance with BOP

guidances.

   We describe these findings in greater detail, and other observations we made

during our inspection, in the Inspection Results section of this report". A

true and complete copy of the entire OIG report is attached hereto and hereby

~ully incorporated in to this Motion as of this reference as      Exhibit "2".

5. On May 16, 2020, The American Civil Liberties Union ("ACLU"), filed a class·

action suit against the Acting Warden of Lompoc and Michael Carvajal in his

capacity as Director of the Bureau of Prisons ("BOP").

6. On June 11, 2020, Defendant was found eligible for the CARES Act and my relocation

was sent. (see Exhibit "4").

7. On July 7, 2020, Defendants father passed away from alleged COVID-19.

8. On July 13, 2020, Defendant received a response to the BP-8 that was filed

by email in Wardens office on April 10, 2020, Well over 90 days after it was

sent. The hand written response is as follows: "you are currently pending relocation.

Once that is approved we can submit your RRC/HC referral". A ture and correct

copy of the BP-8 sent on April 10, 2020, with the hand written response dated

July 13, 2020, is attached hereto and hereby incorporated as of this reference

as Exhibit "3".

9. On July 14, 2020, a Court granted the ACLU a Motion for Preliminary Injunction,

related to a class of inmates under the CARES Act. Defendant is not signed up

in that class. However, in the Order by Chief Justice C. Marshall, states the

following findings of fact; '' The evidence before the Court demonstrates meaningful

social distancing is not possible at Lompoc absent a reduction in the inmates
                                        2
 Case 2:16-cr-00211-DS Document 35 Filed 09/01/20 PageID.210 Page 3 of 6



population," and that "there is no evidence [BOP Officials] are prioritizing

their use of statutory   authority under the CARES Act to grant home confinemertt

to Lompoc inmates in light of thE pandemic." Her Honorers Order the BOP to,

e.mong other things, "Make full and speedy use of the BOP authority under the

CARES ACT[ ..• ]".   (see Torres, et. al. v. Milusnic, et al, Ninth D 2020, cv-

2044500-cbm-pvc)

10. On July 10, 2020, Defendants unit manager informed hirr, to give his case

manager, Mrs Rhodes, hi$ address in Utah. Defendant did as asked and gave tbe

address for Home Confinement. Defendant stood in the office while Mrs. Rhodes

input the new address. Defendant, was informed by Mrs. Rr_odes, "that if' it,

your family w:i.11 receive a call· to look at the house."

11. On July 24, 2020, Defendant received a letter frorr. United States Senator

Kamala D. Harris. Sen1:.tor HE:rris states the following: "I am forwarding to you

the responce I have received about your case; '[MR.] Andrews has been review

under the CARES Act and found eligible. However, they are currently waiting

for his re.location to be accepted from trSPO, which was sent out on June 11,

2020. It seems he has changed his address a bunch of times and this has greatly

slowed the process down. Once the approval comes back for the reloce.tion, they

will then send over to RRMB to process for a supervision for home confinement".

A true and correct copy of the letter from Senator Harris is attached hereto

and hereby incorporatec as of this reference aE: Exhibit "4".

12. On August 8, 2020, Defendant is informed by his daughter, that, the USPO

cfficE• in Salt Lake City <lid not have any relocation file on Defendant and in

fact one was not needed as Defendant was returning to he sentencing district.

At thls point Defendant sent a email BP-8 to case manger Rhodes stating the
following: "My family is telling me that 'Utah USPO' said 'they do not have

my relocation for me.?". A true and correct copy of the email is attached hereto

and hereby incorporated by this reference as Exhibit "5".

13. On August 12, 2020, at 8:37 am, Defendant received a response to the Augusts
                                      3
 Case 2:16-cr-00211-DS Document 35 Filed 09/01/20 PageID.211 Page 4 of 6



 8, 2020 question as follows: '' A relocation was sent on 6/11/2020. After your,

 father died, you provided another address. We are waiting for a letter from

 the person you're proposing to live with stating their willingness to have you

 live with them." The undersigned will state the following to the above email;

.I changed my address to a Califcrnia address with case manage Colson in February

of 2018 and USPO looked at my house then. The undersigned was not asked tc· provide

the s.sme said address on June 11, 2020.   I did give a new address when I was

asked by the undersigned unit manger on July 10, 2020, additional as Case Manger

Rhodes finished inputting my new address, she made that statement, "that is

it [ ... ]" and at that time did not inform me of a needed letter. Then around

10: 37 am on that £:ame day , Defendant received a updated email that stated;

''Also, you are sentecced out of Utah? A relocation is not needed if you are

going to your sentencing district." This last statement is germane to the policy

of the BOP. The case manger kmw or should have known the policy of the BOP,

however; in light of all the findings of fact one can only concluded that some

type of gamesmanships the Lompoc has undertaken with the undersigned. As the

truth has now came out.• To wit, "A relocation is not needed," The undersigned

has now been held up by this mistake and the mistake was admitted to Senator

Harris office.   A true and correct copy of the err~jls of Augasts 8-12, 2020

is attached hereto and hereby incorporated as of this reference as Exhibit "6".

                                  RELIEF SOUGHT

14. Defendant requests immediate release and home confinement pursuant to 18

U.S.C. 18 §3582 et. al. Defend~nt has a variety of life threatening medical

conditions that could lead to his death should be contract COVID-19. The institution·

in which Defendant is incarcerated, as the, OIG report shows along with the findings

of the Honorable Chief Justice C. Marshall of the Ninth District Court points

out, "there is no evidence [BOP Officials] are prioritizing their use of statutory

authority Ut!der the CARES ACT to grant home confinement· to Lompoc inmates in

light of the pandemic." or following the Order to, "Make full speedy use of
                                       4
 Case 2:16-cr-00211-DS Document 35 Filed 09/01/20 PageID.212 Page 5 of 6



the BOP authority under the CARES ACT[ .•• ]". The Statements of facts only lead

to supporting that Lompoc has failed to be "speedy" with the way Lompoc has

handed the Defendant, a eligible inmate for the CARES ACT with life threatening

co-mordibites that could mean a death sentence to the Defendant.

15. Section 3582 (c) states that a sentencing Court can reduce an inmates sentence

whenever "extraordinary and compelling reasons warrant such a reduction". 18

U.S. C. §3582 (c) (1) (A) (i): This section was intended to act as a "safety valve"

for modifying sentences when justified and when various factors that previously

could not have been anticipated are encountered after the original sentence

was passed.

16. The First Step Act of 2018 ("FSA"), further broadened the ·concept. In Section

603 of the FSA allowed a Defendant to make a motion to the sentencing Court

AFTER first requesting such relief from the Warden of the facility in which

the inmate was incarcerated.

17. The Warden has found the Defendant i,s "eligible", passing all the conditions

for home confinement in April. The facility has responded to Senator Harris

making statements of this fact of "eligibility", along with the said intentions

to send Defendant home .. However,-fo-r .r.easons unknown to the Defendant, it has

well over 100 days, which the Defendant is still in a high risk environment .•

This can all be corroborated by the findings of the OIG and the findings of

fact by the Ninth Distract Court Order.



WHEREFORE: The undersigned respectfully request that this Court grant an Order

for the following:

- An Order directing the BOP to immediately release Defendant to Home Confinement,

for the reasons stated herein and grant any other relief applicable under the

Federal Statues that may apply which were not brought forth above.

II
II
                                        5
     Case 2:16-cr-00211-DS Document 35 Filed 09/01/20 PageID.213 Page 6 of 6



       Pursuant to 28 U.S.C. §1746, I, Thomas E Andrews, hereby declare that the

 forgoing is true and correct to the best of my knowledge and under the pains

 of penalty for perjury.



E ~ day ~
        Augusts,
           o2020.f


By·         ~                            -----------------
Th~mas Edward Andr.ews ~ Se



 II

II

II

II

II

II

II

II

II

II

II

II

II

II
                                        6
